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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

JANUARY LITTLEJOHN AND
JEFFREY LITTLEJOHN,

       Plaintiffs,

v.                                             Case No.: 4:21-cv-00415-MW-MJF

SCHOOL BOARD OF LEON COUNTY
FLORIDA, ROCKY HANNA,
individually and in his official capacity as
Superintendent of Leon County Schools,
and KATHLEEN RODGERS,
individually and in her official capacity as
Assistant Superintendent Equity Officer
and Title IX Compliance Coordinator for
Leon County Schools,

       Defendants.

 _____________________________ /

     DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ COMPLAINT

       Defendants, SCHOOL BOARD OF LEON COUNTY FLORIDA,

ROCKY HANNA, individually and in his official capacity as Superintendent of

Leon County Schools, and KATHLEEN RODGERS, individually and in her

official capacity as Assistant Superintendent Equity Officer and Title IX Compliance

Coordinator for Leon County Schools, pursuant to Rule 12(b)(6), Fed. R. Civ. P.,

move to dismiss the Complaint and, in support hereof, state as follows:
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                                     Introduction

      The Complaint alleges that the Plaintiffs were not notified of discussions had

with their child concerning gender identity issues at school in violation of the law.

Taking the facts alleged as true, no action of the Defendants violated any law.

      There are many bases for dismissal of the Complaint. First, the Complaint is

a shotgun pleading. Each count incorporates every preceding allegation rendering it

a classic shotgun pleading that must be dismissed.

      While a defendant should not be required to plead a plaintiff’s case to respond

to it, repleading here is futile. Plaintiffs assert claims under 42 U.S.C. § 1983, against

the School Board, Superintendent Hanna and Assistant Superintendent Rodgers in

their individual and official capacities. The official capacity claims are nothing more

than against the School Board, and therefore they must be dismissed as redundant.

      Substantively, Plaintiffs’ Section 1983 claims, which argue that the

Defendants’ actions abridged their rights to substantive due process under the

Fourteenth Amendment, and specifically infringe on their rights to familial privacy,

and to direct their child’s education and mental health and welfare, fail because none

of the actions alleged in the Complaint actually burdened any of Plaintiffs’ rights.

Plaintiffs do not allege any behavior that is “conscience-shocking” in a constitutional

sense sufficient to establish a substantive due process violation. Similarly, Plaintiffs

are unable to establish that any right they enjoy under the Fourteenth Amendment


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extends to a constitutional obligation on the part of School Board staff to

affirmatively inform parents of their child’s name and pronoun preferences or of

their child’s gender identity.

      If anything, that right was not clearly established at the time of the purported

violations, meaning Superintendent Hanna and Assistant Superintendent Rodgers

should be dismissed from this action entirely under the doctrine of qualified

immunity.

      Plaintiffs’ claims under Florida Statutes and the Florida Constitution fair no

better. Plaintiffs’ state statutory claims, brought pursuant to the newly-enacted

Florida Parents’ Bill of Rights and a statute that removed the disability of nonage

for persons aged 18 and 21, are not viable because neither statute creates a private

enforcement action. Plaintiffs’ claims under the Florida Constitution seek improper

relief, name inappropriate parties, and fail to raise viable claims for an invasion of

their right of privacy or a violation of their substantive due process rights.

                                        Facts1

      Plaintiffs are the parents of A.G., a minor child enrolled in a school in the

School Board’s district. (Doc. 1, p. 15). A.G. was enrolled at, and attended, Deerlake

Middle School during the most relevant time periods to the Complaint. (Id.). A.G. is


1
  The following facts are from the Complaint. No part of this motion or its factual
recitation should be deemed an admission the facts pled are true.


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not a named party. (Id. at p. 1). Rather, A.G.’s parents are suing the Defendants for

violations of their own rights purportedly held under state and federal law. (Id.).

       As the 2020-2021 school year approached, A.G. asked Plaintiffs to be referred

to by the name “J” and by “they/them” pronouns. (Id. at p. 16). Plaintiffs said A.G.

could use the “J” as a nickname at school but not be referred to by the pronouns

“they/them.” (Id.). A.G. had previously come out to Plaintiffs as potentially non-

binary. (Id.).

       The crux of the Complaint revolves around the fall semester of the 2020-2021

school year, after this conversation between A.G. and Plaintiffs took place, and

principally on a meeting at school on September 8, 2020 involving A.G. and School

Board staff, but not the Plaintiffs. (Id. at pp. 17-25). Plaintiffs assert that at the

September 8th meeting, Deerlake staff, including A.G.’s school counselor,

developed a support plan for A.G. that touched on topics including preferred names,

pronoun use, and room sharing on field trips. (Id. at pp. 24-25). Plaintiffs assert that

teachers and staff at Deerlake had been told refer to A.G. as “J” and with the

pronouns “they/they” without their involvement or consent and contrary to their

requests. (Id. at p. 17-18, 21, 23-25). There is no allegation in the Complaint that

this was contrary to the wishes of Plaintiffs’ child or that any School Board employee

coerced, encouraged, or forced Plaintiffs’ child to participate in the meeting or

coerced, encouraged, or forced Plaintiffs’ child to keep anything from Plaintiffs.


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      Plaintiffs allege the actions of School Board staff in this regard were taken

pursuant to a version of Leon County Schools Lesbian, Gay, Bisexual, Gender

Nonconforming and Questioning Support Guide (“Guide”). (Doc. 1-1). The Guide

states that the Leon County School District strives to “ensure that students are

healthy, present, and positive members of a safe learning community.” (Doc. 1-1, p.

3).

      Plaintiffs characterize the Guide’s content in varying ways, but its actual

contents provide its best evidence. Plaintiffs primarily take issue with one of the

questions-and-answers in the guide which provides:

      Q. A student has exhibited behavior in school leading
      administrators or teachers to believe the student is LGBTQ+.
      Should the parents or legal guardians be notified?

      A. No. Outing a student, especially to parents, can be very dangerous
      to the students health and well-being. Some students are not able to be
      out at home because their parents are unaccepting of LGBTQ+ people
      out. As many as 40% of homeless youth are LGBTQ+ many of whom
      have been rejected by their families for being LGBTQ+. Outing
      students to their parents can literally make them homeless.

(Id. at p. 15). Plaintiffs also object to various portions of the “Leon County School

District Transgender/Gender Nonconforming Student Support Plan” attached to the

Complaint. Plaintiffs object to portions of this document purporting to task School

Board staff with inquiring whether parents or legal guardians are aware of a student’s

gender transition and whether they support it, and also take that information into

account when considering the student’s privacy interests. (Id. at pp. 19-24). The

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Complaint’s majority recounts dialogue between Plaintiffs and Superintendent

Hanna and Assistant Superintendent Rodgers concerning updates to this Guide’s

question-and-answer portion.

         Plaintiffs do not allege the School Board did not sufficiently involve them in

any aspect of their child’s education post-dating the September 8th meeting or that

any other meeting occurred involving their child without their involvement. (See

Doc. 1). With respect to that meeting, and the core of Plaintiffs’ claims, Plaintiffs

essentially argue that they should have been informed and involved in these gender

identity discussions had at school and that the failure to inform violated their rights

under the United States and Florida Constitutions, and provisions of Florida law.

(See id.).

         The following charts the Complaint’s counts:

 Count                               Title                            Defendants


    I        Violation of Section 1983 and specifically of                 All
             Plaintiffs’ Substantive Due Process Right to Direct
             the Education and Upbringing of Their Children
             under the U.S. Constitution
   II        Violation of Section 1983 and specifically of                 All
             Plaintiffs’ Fundamental Right to Direct the medical
             and Mental Health Decision-making for their
             Children Under the U.S. Constitution
   III       Violation of Section 1983 and specifically Plaintiffs’        All
             Right to Familial Privacy Under the U.S. Constitution
   IV        Violation of Plaintiffs’ Right to Privacy Under               All
             Article 1, §23 of the Florida Constitution



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     V        Violation of Plaintiffs’ Right to Substantive Due             All
              Process under Art. I, §9 of the Florida Constitution
     VI       Violation of Chapter 1014 of the Florida Parents Bill     School Board
              of Rights
     VII      Violation of §743.07, Fla. Stat., for abridging               All
              Plaintiffs’ right to choose medical treatment for their
              child


           None of the counts have merit and the Complaint should be dismissed.

                                         Argument 2

I.       The Complaint is a Shotgun Pleading

         Rule 8 of the Federal Rules of Civil Procedure sets forth the general rules of

pleading. Rule 8(a)(2) instructs pleaders to provide “a short and plain statement of

the claim showing that the pleader is entitled to relief.” Rule 8(d)(1) instructs that

“each allegation must be simple, concise, and direct ...” The purpose of Rule 8 is to

provide a defendant “fair notice of what the ... claim is and the grounds upon which

it rests.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley

v. Gibson, 355 U.S. 41, 47 (1957)). Under Rule 10(b) of the Federal Rules of Civil

Procedure a party must “state its claims or defenses in numbered paragraphs, each

limited as far as practicable to a single set of circumstances” and “[i]f doing so would




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  Because this Court is well-versed in the standard for adjudicating a motion to
dismiss, it is omitted.

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promote clarity, each claim founded on a separate transaction or occurrence ... must

be stated in a separate count or defense.”

      “Complaints that violate either Rule 8(a)(2) or Rule 10(b), or both, are often

disparagingly referred to as ‘shotgun pleadings.’” Weiland v. Palm Beach, 792 F.3d

1313, 1320 (11th Cir. 2015). Shotgun pleadings “wreak havoc on the judicial

system” by “divert[ing] already stretched judicial resources into disputes that are not

structurally prepared to use those resources efficiently.” Wagner v. First Horizon

Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir. 2006) (quotation and citation

omitted).

      “Shotgun pleadings are characterized by: (1) multiple counts that each adopt

the allegations of all preceding counts; (2) conclusory, vague, and immaterial facts

that do not clearly connect to a particular cause of action; (3) failing to separate each

cause of action or claim for relief into distinct counts; or (4) combining multiple

claims against multiple defendants without specifying which defendant is

responsible for which act.” McDonough v. City of Homestead, 771 F. App'x 952,

955 (11th Cir. 2019) (citing Weiland, 792 F.3d at 1321–23). Shotgun pleadings are

disfavored because they make it difficult, if not impossible, for a defendant to have

fair notice of the claims against it and to respond in kind. See Weiland, 792 F.3d at

1323. Compliance with Rules 8(a)(2) and 10(b) is necessary so “the court can

determine which facts support which claims and whether the plaintiff has stated any


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claims upon which relief can be granted, and, at trial, the court can determine that

evidence which is relevant and that which is not.” Id. at 1320-21.

     Here, Plaintiffs’ Complaint is a classic shotgun pleading because it

incorporates each and every factual allegation along with each and every one of the

paragraphs contained in the preceding counts into each count. (See Doc. 1 at pp. 37,

41, 45, 48, 50, 54, 56). Complaints, like this one, where each count incorporates each

preceding count, are textbook examples of a shotgun pleading. Weiland, 792 F.3d at

1321 (explaining that complaints incorporating the preceding counts into each count

are not in compliance with the Rules of Civil Procedure); Davis v. Main St. Fam.

Pharmacy, LLC, No. 5:16CV45-MW/GRJ, 2016 WL 9185284, at *1 (N.D. Fla. Apr.

18, 2016) (dismissing complaint as a shotgun pleading where each count

incorporated all of the allegations of the counts before it).

     Truth be told, the Complaint arguably qualifies as a shotgun pleading for

numerous other reasons. For example, six of the seven counts are brought against all

defendants, but those counts fail to specify whether they are brought against the

individual defendants in their individual or official capacities or both. There is only

one ad damnum clause that conceivably encompasses and incorporates all of the

preceding counts, but as will be set forth herein, the damages pled are not available

under each and every cause of action. Such prayers for relief indicate a shotgun

pleading. See Allen v. Cypress Vill., Ltd., No. 3:10-CV-994-WKW, 2011 WL


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1667055, at *2 (M.D. Ala. May 3, 2011)(citing Anderson v. Dist. Bd. of Trustees of

Cent. Fla. Comty. Coll., 77 F.3d 364, 366 (11th Cir.1996) and holding that complaint

that incorporated every claim into the prayer for relief was a shotgun pleading.).

Finally, the Complaint is 63 pages and contains 207 paragraphs, exclusive of the

prayer for relief. Many of these paragraphs contain legal conclusions, belabored

recitations of elements of Guide and back and forth between School Board staff and

the Plaintiffs about the Guide, and excerpts of correspondence.

      In any event, Plaintiffs’ Complaint is at the very least a shotgun pleading

because it incorporates into each count every factual allegation of the Complaint,

including all of the preceding counts. Dismissal is therefore warranted. See U.S. ex

rel. Atkins v. Mclnteer, 470 F. 3d 1350, 1354 n.6 (11th Cir. 2006) (“When faced with

a shotgun pleading, the trial court, whether or not requested to do so by the party's

adversary, ought to require the party to file a repleader.”); see also Vibe Micro, Inc.

v. Shabanets, 87 8 F.3d 1291, 1296 (11th Cir. 2018) (“When a litigant files

a shotgun pleading, is represented by counsel, and fails to request leave to amend, a

district court must sua sponte give him one chance to replead before dismissing his

case with prejudice on non-merits shotgun pleading grounds.”).3




3
 To the extent a more definite statement is the appropriate remedy, Defendants also
move for a more definite statement under Fed. R. Civ. P. 12(e).

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II.    Plaintiffs’ Claims Against Superintendent Hanna and Assistant Superintendent
       Rodgers in their Official Capacities are Duplicative of their Claims Against
       the School Board

       “[O]fficial capacity suits generally represent only another way of pleading an

action against the entity of which an officer is an agent.” Brandon v. Holt, 469 U.S.

464,     472   n.    21    (1985).    Suits        against   an   individual   acting   in

his official capacity impose liability on the governmental entity the official

represents. See Busby v. City of Orlando, 931 F.2d 764, 776 (11th Cir. 1991) “As

long as the government entity receives notice and an opportunity to respond, an

official-capacity suit is, in all respects other than name, to be treated as a suit against

the entity.” Kentucky v. Graham, 473 U.S. 159, 166 (1985) (citing Brandon, 469

U.S. at 471–72).

       “Because suits against a municipal officer sued in his official capacity and

direct suits against municipalities are functionally equivalent, there no longer exists

a need to bring official-capacity actions against local government officials, because

local government units can be sued directly....” Busby, 931 F.2d at 776. Thus, when

a suit is filed against both a governmental entity and its officers and employees in

their official capacities, it is appropriate for a court to dismiss the named individual

defendants in their official capacities as “redundant and possibly confusing to the

jury.” Id. The same rationale applies to the state law claims pled against the

individual defendants in their official capacities. See Braden Woods Homeowners


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Ass'n, Inc. v. Mavard Trading, Ltd., 277 So. 3d 664, 671 (Fla. 2d DCA 2019). See

also Kubany by Kubany v. School Bd. of Pinellas County, 818 F. Supp 1504, 1507

(M.D. Fla. 1993) (filing a Section 1983 claim against school board members and

principal in their official capacities was improper, because the plaintiff had sued the

school board directly).

     Here, all of the counts brought against the individual defendants, ostensibly in

their official capacities, are also lodged against the School Board. These redundant

claims in Counts I-V and VII should be dismissed.

III. Defendants are not Liable for any Alleged Violation of Section 1983

     Plaintiffs’ substantive due process claims brought pursuant to Section 1983

contained in counts I through III fail to state a claim with respect to any defendant.

While Plaintiffs’ Complaint contains buzzwords sounding in a substantive due

process claim, the facts pled in support fall short of establishing any Constitutional

violation.

     Plaintiffs bring claims for interference with parental rights secured by the Due

Process Clause of the Fourteenth Amendment. The Due Process Clause of the

Fourteenth Amendment “protects the fundamental right of parents to make decisions

concerning the care, custody, and control of their children.” Troxel v. Granville, 530

U.S. 57, 65-66 (2000); see also Pierce v. Soc'y of Sisters, 268 U.S. 510 (1925)

(recognizing “liberty of parents and guardians to direct the upbringing and education


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of children under their control”). State interference with the parent-child relationship

may give rise to a Section 1983 action for damages. See Morrison v. Jones, 607 F.2d

1269, 1275-76 (1979). “Absent a ‘compelling state interest’ and an infringement

‘narrowly tailored’ to serve that interest, the government may not violate” a

fundamental right. Hillcrest Prop., LLP v. Pasco Cnty., 915 F.3d 1292, 1297 (11th

Cir. 2019). However, “[s]ubstantive due process challenges that do not implicate

fundamental rights are reviewed under the ‘rational basis’ standard.” Kentner v. City

of Sanibel, 750 F.3d 1274, 1280 (11th Cir. 2014) (citing Fresenius Med. Care

Holdings, Inc. v. Tucker, 704 F.3d 935, 945 (11th Cir. 2013)).

     Nevertheless, Plaintiffs face a high bar because they are asserting a substantive

due process violation. Maddox v. Stephens, 727 F. 3d 1109, 1119 (11th Cir. 2013).

Indeed, “the Constitution does not protect against all encroachments by the state onto

the interests of individuals,” Robertson v. Hecksel, 420 F.3d 1254, 1262 (11th Cir.

2005). “[C]onduct by a government actor will rise to the level of a substantive due

process violation only if the act can be characterized as arbitrary or conscience

shocking in a constitutional sense.” Maddox, 727 F.3d at 1119 (quoting Waddell v.

Hendry Cnty. Sheriff's Off., 329 F.3d 1300, 1305 (11th Cir. 2003)). “[O]nly the most

egregious official conduct can be said to be arbitrary in the constitutional sense.” Id.

(quoting Cnty. of Sacramento v. Lewis, 523 U.S. 833, 846 (1998)) (internal quotation

marks omitted). “A deprivation is of constitutional stature if it is undertaken for


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improper motive and by means that were pretextual, arbitrary and capricious, and

without rational basis.” Hoefling v. City of Miami, 811 F.3d 1271, 1282 (11th Cir.

2016) (citation omitted).

     “Determinations of what is egregious conduct must not be made in the glow of

hindsight; decisions made by a government actor must be egregious – that is, shock

the conscience – the time the government actor made the decision.” Waddell, 329

F.3d at 1305. Conduct intended to injure and unjustified by any government interest

is most likely to be conscience-shocking. Id. Courts must conduct an “exact analysis

of circumstances before any abuse of power is condemned as conscience

shocking.” Cnty. of Sacramento, 523 U.S. at 850.

     Significantly, “the Supreme Court ‘has always been reluctant to expand the

concept of substantive due process because guideposts for responsible

decisionmaking in this unchartered area are scarce and open-ended.’” Maddox, 727

F.3d at 1120 (quoting Collins v. City of Harker Heights, Tex., 503 U.S. 115, 125

(1992)). The Eleventh Circuit explained in Maddox v. Stephens that cases involving

the assertion of a violation of parental liberty interests is a murky area of

unenumerated constitutional rights and that courts thus must be careful and exercise

the utmost care in analyzing claims in this subject area because the judiciary’s

constitutionalizing purported violations of parental liberty interests takes




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governmental decisionmaking outside the arena of public debate and legislative

action. Id.

      That is especially true here because the case involves school administration.

Public education of children is unquestionably entrusted to the control, management,

and discretion of school boards. Epperson v. Arkansas, 393 U.S. 97, 104 (1968).

“Courts do not and cannot intervene in the resolution of conflicts which arise in the

daily operation of school systems and which do not directly and sharply implicate

basic constitutional values.” Id. And the state of course, separate from any parental

interest, has an interest in the wellbeing of its youth. Ginsberg v. New York, 390 U.S.

629, 640 (1968).

      Plaintiffs’ Section 1983 claims must be dismissed as to all Defendants because

no constitutional rights of the Plaintiffs are implicated by any of Defendants’ alleged

actions. The crux of this case is Plaintiffs’ contention they had the right to be

informed of discussions had between School Board personnel and their child

concerning gender identity issues, such as preferred names and pronouns. The

problem is there is no Constitutional liberty interest requiring such notification.

Indeed, in cases involving a viable allegation of interference with parental liberty

interests the state has either required or prohibited some activity. These cases focus

on an element of state coercion missing here.




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      Take for instance the cases cited by Plaintiffs for the purposes of establishing

the existence of a parental liberty interest. Troxel v. Granville, involved parental

liberty interests but in the context of the state’s interference with the visitation rights

of a minor child. 530 U.S. at 67-73. Similarly, Parham v. J. R., involved state

procedures governing the admission of children to psychiatric hospitals. 442 U.S.

584 (1979). Prince v. Massachusetts, involved a situation where child labor laws

were construed to prohibit sales of religious tracts by children which the Supreme

Court found unreasonably interfered with parental rights to raise those children. 321

U.S. at 166. There are numerous other cases, and the central point of them, is that

the interference of parental rights is only actionable where the state is requiring or

prohibiting some activity. See, e.g., Meyer v. Nebraska, 262 U.S. 390,

(1923)(striking down state’s prohibition on teaching any language other than

English).

      Here, there is no allegation in the Complaint that Plaintiffs’ child was forced

to participate in a meeting with school personnel to discuss gender identity issues.

There is no allegation school personnel directed, coerced, or encouraged, Plaintiffs’

child to conceal anything from Plaintiffs, or that there was any attempt to do so.

There is no allegation Plaintiffs’ child requested parental involvement in meetings

with school personnel. This sets this case apart from others finding interference with

parental liberty interests secured by the Fourteenth Amendment. Indeed, Plaintiffs’


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claims fail for the simple reason that they cannot show how their rights were

burdened by state action.

     Doe v. Irwin, a case out of the Sixth Circuit Court of Appeals, is instructive.

615 F.2d 1162 (6th Cir. 1980). At issue in Doe, was a condom distribution program

for minors set up by a state-run clinic. Parents challenged the program arguing it

interfered with their parental rights secured by the Due Process clause because it

provided no notice to parents their minor children were using the clinic’s services.

The Sixth Circuit found there was no unconstitutional interference with parental

rights stressing the fact the program was completely voluntary and there was no

requirement minors avail themselves of the services of the birth control clinic, nor

was there any prohibition on parents participating in decisions related to sexual

activity or birth control concerning their minor children. Id. at 1166–69. Cogently,

the Sixth Circuit summed up the issue thusly:

      In the absence of a constitutional requirement for notice to parents, it is
      clearly a matter for the state to determine whether such a requirement
      is necessary or desirable in achieving the purposes for which the Center
      was established. There is no basis for a federal court to impose
      conditions in the absence of an overriding constitutional requirement.
      The desire of the parents to know of such activities by their children is
      understandable. However the only issue before the district court and
      this court is whether there is a constitutional obligation on the Center
      to notify them. The record before us does not establish that the Center
      infringes a constitutional right of the plaintiffs by its practice of
      distributing contraceptive devices and medication to unemancipated
      minors without notice to their parents.
Id. at 1169.

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     There are numerous cases that stand for the proposition that a failure on the

part of school staff to notify parents of issues involving their children does not

amount to an infringement of parental liberty unless there is an element of coercion

involved. See, e.g., Curtis v. Sch. Comm. of Falmouth, 420 Mass. 749, 754–60, 652

N.E.2d 580, 584–87 (1995)(holding that voluntary condom distribution program in

schools did not violate parental liberty interests under the Fourteenth Amendment

because there was no coercion by the state, and no requirement that anyone

participate in the program or prohibition of a constitutional nature); Reardon v.

Midland Cmty. Sch., 814 F. Supp. 2d 754, 767–72 (E.D. Mich. 2011)(holding that

alleged counseling by school counselors that encouraged minor child to run away

did not violate parents substantive due process rights because counselors did not

exert coercive influence over minor child but merely provided counseling to her

upon her request). Doe v. Irwin, supra, illustrates this point, as it involved coercion

that is lacking in the allegations of the Complaint.

     Parents certainly have liberty interests in the upbringing and education of their

children, but it is not unlimited. Cases that touch upon where these rights merge with

the state’s provision of education have interpreted the right only to mean that the

state could not make public education mandatory. See, e.g., Runyon v. McCrary, 427

U.S. 160 (1976)(holding that constitutional parental liberty rights do not interfere

with school rights to determine the values and standards underlying educational


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programs). Indeed, courts have rejected attempts by parents to establish a

fundamental right to dictate curriculum and program choices at public schools where

they send their children. Thomas v. Evansville-Vanderburgh School Corp., 258

Fed.Appx. 50, 53-54 (7th Cir. 2007) (“We agree that [plaintiff] has a fundamental

right, secured by the due process clause, to direct the upbringing and education of

her child.... But a right to choose the type of school one's child attends, or to direct

the private instruction of one's child, does not imply a parent's right to control every

aspect of her child's education at a public school.”) (citing Fields v. Palmdale Sch.

Dist., 427 F.3d 1197, 1204-07 (9th Cir. 2005); Leebaert v. Harrington, 332 F.3d

134, 140-42 (2d Cir. 2003); Brown v. Hot, Sexy and Safer Productions, Inc., 68 F.3d

525, 533-34 (1st Cir. 1995); cf. Wisconsin v. Yoder, 406 U.S. 205, 232-33 (1972)).

Indeed, both the Sixth and Ninth Circuits have held that nothing in the Constitution

prohibits public schools from making curriculum choices or to even direct the school

administration more generally. See Parents for Priv. v. Barr, 949 F.3d 1210, 1230–

33 (9th Cir.), cert. denied, 141 S. Ct. 894 (2020)

     An Eleventh Circuit case that did find “conscience-shocking” behavior in the

context of a school official’s actions sufficient to support a substantive due process

violation of parental liberty interests highlights show how different that case is from

this one. In Arnold v. Bd. of Educ. of Escambia Cnty. Alabama, a school official

coerced a child into seeking an abortion. 880 F.2d 305 (11th Cir.1989), abrogated


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in part by Leatherman v. Tarrant Cnty. Narcotics Intelligence & Coordination

Unit, 507 U.S. 163 (1993). The minor children that conceived a child, along with

their parents, sued the school district contending that their constitutional rights were

infringed.

      Crucially, the parents alleged that the school official coerced the minor mother

into obtaining an abortion and to refrain from discussing it with her parents, assisted

in procuring the abortion, and hired the students for menial jobs so that they could

pay for the abortion. While the Eleventh Circuit held these actions could constitute

infringement on the substantive due process rights of the parents, the key to that

holding was the school officials’ coercive pressure on a child to seek an invasive and

controversial medical procedure, and to conceal that procedure and the condition

that led to it from the child's parents. Id. at 312-314.4

      No coercion has been alleged here. There is no allegation that Plaintiffs’ child

was required to do anything or coerced into taking any action. Plaintiffs’ child was

not required, coerced, or encouraged to conceal anything from Plaintiffs.

      Frankly, no action of the School Board or its staff or officials burdened or

infringed on any rights that Plaintiffs enjoy under the Due Process clause. Certainly,




4
  Indeed, the Eleventh Circuit’s holding in Arnold reinforces that coercion is
necessary to establish a substantive due process violation in this context. See Doe,
615 F.2d at 1168.


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no action of the School Board or its staff was “conscience-shocking” sufficient to

establish a Constitutional violation, warranting dismissal of the Section 1983 claims.

See Doe, 615 F.2d at 1169 (finding no need to consider whether there was a

compelling state interest involved because there was no unconstitutional

infringement of parental liberty interests).

IV.   Superintendent Hanna and Assistant Superintendent Rodgers are Entitled to
      Qualified Immunity on Plaintiffs’ Section 1983 Claims

      Qualified immunity offers complete protection for government officials

performing discretionary functions “insofar as their conduct does not violate clearly

established statutory or constitutional rights of which a reasonable person would

have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Critical public policy

considerations, such as the “social costs [associated with claims against public

officials] including the expenses of litigation, the diversion of official energy from

pressing public issues, and the deterrence of able citizens from acceptance of public

office” are bedrock principles of the qualified immunity defense. Id. at 814. Thus,

“courts should think long and hard before stripping defendants of immunity.”

Lassiter v. Ala. A&M Univ., 28 F.3d 1146, 1149 (11th Cir. 1994) (en banc).

“Because qualified immunity is a defense not only from liability, but also from suit,”

it must be resolved “at the earliest possible stage in litigation.” Pearson v. Callahan,




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555 U.S. 223, 232 (2009) (quoting Hunter v. Bryant, 502 U.S. 224, 227 (1991) (per

curiam)).

      Qualified immunity protects from suit “all but the plainly incompetent or one

who is knowingly violating the federal law,” Lee v. Ferraro, 284 F.3d 1188, 1194

(11th Cir. 2002). It is a “muscular doctrine that impacts on the reality of the

workaday world as long as judges remember that the central idea is this pragmatic

one: officials can act without fear of harassing litigation only when they can

reasonably anticipate—before they act or do not act—if their conduct will give rise

to damage liability for them.” Foy v. Holston, 94 F.3d 1528, 1534 (11th Cir.1996)

(citing Davis v. Scherer, 468 U.S. 183, 195 (1984)). “If objective observers cannot

predict—at the time the official acts—whether the act was lawful or not, and the

answer must await full adjudication in a district court years in the future, the official

deserves immunity from liability for civil damages.” Id. (citing Elder v.

Holloway, 510 U.S. 510, 513–15 (1994)).

      Qualified immunity applies regardless of whether the government official's

error is “a mistake of law, a mistake of fact, or a mistake based on mixed questions

of law and fact.” Pearson, 555 U.S. at 231. Qualified immunity “operates as a shield

against civil damages due to mistaken judgments.” Harris v. Coweta Cty., 21 F.3d

388, 390 (11th Cir.1994). Stated differently, qualified immunity “gives government

officials breathing room to make reasonable but mistaken judgments.” Carroll v.


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Carman, 574 U.S. 13, 17 (2014) (per curiam).

      To receive qualified immunity, a public official must first establish they were

“acting within the scope of his discretionary authority when the allegedly wrongful

acts occurred.” Lee, 284 F.3d at 1194. Superintendent Hanna and Assistant

Superintendent Rodgers were acting within their discretionary authority as to the

acts alleged in the Complaint. “[A] government official proves that he acted within

his discretionary authority by showing objective circumstances which would compel

the conclusion that his actions were undertaken pursuant to the performance of his

duties and within the scope of his authority.” Courson v. McMillian, 939 F.2d 1479,

1487 (11th Cir. 1991) (internal quotation marks omitted); see also, Holloman v.

Harland, 370 F.3d 1252, 1265 (11th Cir. 2004) (stating an official acts within her

discretionary   authority    where    she    “perform[s]    a   legitimate   job-related

function…through means that [are] within his power to utilize”). The actions alleged

by Plaintiff all implicate the discretionary authority of the individual defendants as

they focus on actions core to their duties as public officials, managing the affairs of

schools within the District, interpreting and applying school practice and policies,

and interacting with parents concerning the education of a student in District schools.

      Because Superintendent Hanna and Assistant Superintendent Rodgers were

acting within their discretionary authority, the burden shifts to Plaintiffs to establish

that qualified immunity is inappropriate. Lumley v. City of Dade City, Fla., 327 F.3d


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1186, 1194 (11th Cir. 2002). To do so, Plaintiffs must satisfy the following two-part

test: (1) that they have alleged a violation of a constitutional right; and (2) that the

right was “clearly established” at the time of the misconduct. Keating v. City of

Miami, 598 F.3d 753, 762 (11th Cir. 2010) (citing Pearson, 555 U.S. at 236 and

Hope v. Pelzer, 536 U.S. 730, 736 (2002)). The steps in the test may be considered

in whatever order is deemed appropriate for the case. Pearson, 555 U.S. at 241-242.

Meaning, this Court can determine that the right allegedly violated was not clearly

established without deciding whether a constitutional violation occurred at all. See,

e.g., Loftus v. Clark–Moore, 690 F.3d 1200, 1204 (11th Cir. 2012); Lewis v. City of

West Palm Beach, Fla., 561 F.3d 1288, 1291 (11th Cir. 2009).

       Superintendent Hanna and Assistant Superintendent Rodgers are entitled to

qualified immunity under this framework. As already explained, no constitutional

right was violated. At the very least, any such right was not “clearly established” at

the    time   of   the    violation.   A    right   may     be   clearly    established

for qualified immunity purposes in one of three ways: “(1) case law with

indistinguishable facts clearly establishing the constitutional right; (2) a broad

statement of principle within the Constitution, statute, or case law that clearly

establishes a constitutional right; or (3) conduct so egregious that a constitutional

right was clearly violated, even in the total absence of case law.” Lewis, 561 F.3d at

1291–92 (internal citations omitted). Plaintiffs cannot establish that any purported


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constitutional right violated was clearly established in any way.

       First, the undersigned can identify no case establishing that the alleged actions

of the defendants, as pled, give rise to a constitutional violation. The cases cited in

the Complaint purporting to establish these rights are distinguishable as discussed.

       Second, the undersigned can similarly identify no broad statement of principle

within the Constitution, statute, or case law that clearly establishes a constitutional

right of Plaintiffs that was abridged. It is certainly relevant to both inquiries that

there are a multitude of cases, already cited and analyzed herein, that hold the exact

kind of conduct purported to be unconstitutional was completely lawful. Also

relevant is the historical deference that courts give to educational institutions and

administrators to make decisions governing school administration. If anything, it is

established that school administrators and school boards are typically given wide

latitude to run schools, accountable to the will of the local electorate, and that

constitutionalizing administrative decision-making in the school sphere is not done

lightly.

       Finally, no conduct alleged in the Complaint is so egregious that a

constitutional right was clearly violated, in the total absence of case law that would

put Superintendent Hanna and Assistant Superintendent Rodgers on notice that their

conduct was unlawful. Indeed, this third category is “narrow” and “encompasses

those situations where ‘the official's conduct lies so obviously at the very core of


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what the [relevant constitutional provision] prohibits that the unlawfulness of the

conduct was readily apparent to the official, notwithstanding the lack of case

law.’” Loftus, 690 F.3d at 1205 (quoting Terrell v. Smith, 668 F.3d 1244, 1257 (11th

Cir. 2012)). As discussed, no conduct of any School Board staff “shocked the

conscience” in a constitutional sense, and none of the conduct lies at the core of due

process clause of the Fourteenth Amendment sufficient for the Plaintiffs to establish

that Superintendent Hanna and Assistant Superintendent Rodgers are not entitled to

qualified immunity.

     “The inquiry whether a federal right is clearly established ‘must be undertaken

in light of the specific context of the case, not as a broad general proposition.’”

Loftus, 690 F. 3d at 1204 (quoting Coffin v. Brandau, 642 F.3d 999, 1013 (11th

Cir.2011) (en banc)). “Qualified immunity attaches when an official's conduct ‘does

not violate clearly established statutory or constitutional rights of which a reasonable

person would have known.’” White v. Pauly, –––– U.S. ––––, 137 S. Ct. 548, 551

(2017) (quoting Mullenix v. Luna, 577 U.S. ––––, 136 S.Ct. 305, 308 (2015)). No

reasonable person would have known that any action pled in the Complaint violated

Plaintiffs’ constitutional rights warranting dismissal of the Section 1983 claims

against Superintendent Hanna and Assistant Superintendent Rodgers in their

individual capacities.




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V.    Plaintiffs’ Claims for Violations of Florida Statutes Fail Because those
      Statutes do not Create a Private Right of Action

      Plaintiffs bring two claims under Florida Statutes. One is lodged against the

School Board under Chapter 1014, Florida Statutes, the Florida Parents’ Bill of

Rights. The second is brought under Section 743.07, Florida Statutes against all

Defendants. Neither of these statutes creates a private right of action, warranting

dismissal with prejudice of both counts.

      The Florida Supreme Court instructs that “[w]hether a violation of a statute

can serve as the basis for a private cause of action is a question of legislative intent”

and courts “must determine legislative intent from the plain meaning of the statute.”

Aramark Uniform & Career Apparel, Inc. v. Easton, 894 So. 2d 20, 23 (Fla. 2004)

(“A statute creates a new cause of action if it provides a remedy unavailable under

the common law.”) (citing Fla. E. Coast Ry. Co. v. McRoberts, 111 Fla. 278, 149

So. 631, 632 (1933)). “To discern legislative intent, [courts] look ‘primarily’ to the

actual language used in the statute.” Borden v. East–European Ins. Co., 921 So. 2d

587, 595 (Fla. 2006). “Further, ‘[w]hen the statute is clear and unambiguous, courts

will not look behind the statute's plain language for legislative intent or resort to

rules of statutory construction to ascertain intent.’” Id. (quoting Daniels v. Fla. Dep't

of Health, 898 So. 2d 61, 64 (Fla. 2005)); Merkle v. Health Options, Inc., 940 So. 2d

1190, 1197 (Fla. 4th DCA 2006) (courts may imply a private cause of action “only



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where the statutory scheme and statute itself indicate a legislative purpose to do

so.”).

         Here, neither statute forming the basis of Plaintiffs’ claims creates a private

cause of action. First, Section 743.07, Florida Statutes, merely removes the disability

of nonage as to those over 18 except with respect to the consumption of alcoholic

beverages. Nothing in the statutory language remotely suggests that parents would

have a cause of action under statute to enforce their own rights with respect to the

family unit and the rearing of their children.

         Similarly, nothing in the language of Chapter 1014, the Parents Bill of Rights,

suggests the Legislature intended to permit parents a private cause of action under

the statute. In fact, the language suggests otherwise. Section 1014.04(3) states: “[a]n

employee of the state, any of its political subdivisions, or any other governmental

entity who encourages or coerces, or attempts to encourage or coerce, a minor child

to withhold information from his or her parent may be subject to disciplinary action.”

The Legislature’s inclusion of a specific non-private remedy for a statutory violation,

here a disciplinary action, and its exclusion of language that even suggests the

creation of a private right of action, undercuts any argument that such a private right

exists. See Gunn v. Robles, 100 Fla. 816, 817, 130 So. 463, 463 (Fla. 1930) (“Where

a particular remedy is conferred by statute, it can be invoked only to the extent and

manner prescribed.”); Dep’t of Professional Regulation v. Florida Society of


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Professional Land Surveyors, 475 So. 2d 939 (Fla. 1st DCA 1985) (noting same as

Gunn); City of Miami v. Cosgrove, 516 So. 2d 1125, 1127 (Fla. 3d DCA 1987)

(holding that a statute granting a right to injunctive relief did not thereby grant a

right to collect damages).

      It should also be noted that Section 1014.06(5) imposes criminal liability for

some statutory violations. Where a statute imposes criminal liability for violations,

this is further evidence of the legislative intent to not create a private civil cause of

action to remedy violations of its provisions. See Mallery v. Norman L. Bush Auto

Sales & Serv., Inc., 301 So. 3d 361, 363-66 (Fla. 2d. DCA 2020); Mantooth v.

Richards, 557 So. 2d 646, 646 (Fla. 4th DCA 1990) (holding that a violation of a

criminal statute did not afford a civil remedy).

      Of course, the Legislature knows how to pass a law that provides for a civil

remedy or cause of action and “courts must presume that the Legislature passes

statutes with the knowledge of prior existing statutes....” Knowles v. Beverly

Enterprises-Florida, Inc., 898 So. 2d 1, 9 (Fla. 2004) (citation omitted). Indeed, the

Legislature has provided for private enforcement rights in very similar statutory

schemes in language or purpose. See, e.g., § 393.13(5), Fla. Stat. (creating a private

cause of action for violations of The Bill of Rights of Persons with Developmental

Disabilities).




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       Surely, the Parents’ Bill of Rights was intended to inure to parents’ benefit.

That is not enough to create a private right of action though. “[L]egislative intent,

rather than the duty to benefit a class of individuals, should be the primary factor

considered by a court in determining whether a cause of action exists where a statute

does not expressly provide for one.” Murthy v. N. Sinha Corp., 644 So.2d 983, 984

(Fla. 1994). What controls is the Legislature intention to create a private action and

nothing in the language of the Parents’ Bill of Rights, or Section 743.07 for that

matter, remotely indicates the Legislature intended to create such a right.

See Horowitz v. Plantations Gen. Hosp. Ltd. P’ship, 959 So.2d 176, 182 (Fla.

2007)(“The primary guide to our analysis of whether the Legislature intended to

impose civil liability is, as in all cases of statutory construction, the actual language

used in the statute.”). 5 Accordingly, the Court should dismiss Counts VI and VII

with prejudice.6



5
  To the extent Plaintiffs are asserting a common law claim in these counts, they still
fail. Common law claims cannot be based on violations of a statute where that statute
does not create a private right of action. Buell v. Direct Gen. Ins. Agency, Inc., 267
Fed.Appx. 907, 909 (11th Cir. 2008) (noting that a statute which lacks a cause of
action for its violation does not establish civil liability on common law claims);
Curtis v. City of West Palm Beach, 82 So. 3d 894 (Fla. 4th DCA 2011) (explaining
that remedy is limited to what is set forth in the statute and the violation of a statute
lacking a private cause of action cannot be a premise for some type of broader claim
for damages based solely on the violation of the statute).
6
  There are other bases to dismiss these claims. At least with respect to claims under
the Parents’ Bill of Rights, Plaintiffs do not plead any facts establishing a violation
occurring after the effective date of the statute, July 1, 2021.

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VI.   Plaintiffs’ State Constitutional Claims are Not Viable

       Counts IV (Article 1, §23 – Right to Privacy) and V (Article I, §9 –

Substantive Due Process) are claims brought directly under the Florida Constitution.

(Doc. 1, pp. 50-54). Plaintiffs seek, among other forms of relief, nominal and

compensatory damages as well as attorneys’ fees and costs. (Doc. 1, p. 61-62).

These claims are subject to dismissal for a myriad of reasons.

       First, it is axiomatic that a claim for damages for a violation of the Florida

Constitution cannot be maintained. Holcy v. Flagler County Sheriff, 3:05-CV-1324J-

32HTS, 2007 WL 2669219, at *6 (M.D. Fla. Sept. 6, 2007) (Florida constitutional

claims do not support claims for damages absent a separate enabling statute). See

also Smith v. Bell, No. 06-60750, 2008 WL 868253, at **2, 9-10 (S.D. Fla. Mar. 31,

2008) (concluding that “no private cause of action exists under the constitutional

right to due process” and no claim for money damages can be maintained for

violations of the Florida Constitution); Hill v. Dep't of Corrs., 513 So. 2d 129, 133

(Fla. 1987). Likewise, Article I, §§9 and 23 of the Florida Constitution contain no

right to an award of attorneys’ fees and costs for a prevailing party. Generally,

attorneys’ fees are not recoverable in the absence of a statute or contractual

agreement authorizing their recovery. See Bidon v. Dep't of Prof'l Regulation,

Florida Real Estate Com'n, 596 So. 2d 450, 452 (Fla. 1992). There is no such

authority for fees here. As such, Counts IV and V should be dismissed.


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      Second, the Florida Constitution does not create a cause of action against

private persons. Therefore, the individual capacity claims in Counts IV and V against

Superintendent Hanna and Assistant Superintendent Rodgers should be dismissed.

Blanco v. City of Clearwater, Fla., 9 F. Supp. 2d 1316, 1319 (M.D. Fla. 1998). See

also Riggins v. Beseler, 3:10-CV-1187-J-25JBT, 2013 WL 12086790, at *17 (M.D.

Fla. Mar. 26, 2013), aff'd, 568 Fed. Appx. 850 (11th Cir. 2014)(“a violation of the

privacy provision of the Florida Constitution does not serve as a basis for a cause of

action against an individual…”); Garcia v. Reyes, 697 So. 2d 549, 550 (Fla. 4th DCA

1997)(affirming dismissal of claim under Article I, §9 of the Florida Constitution

against and holding, “[t]o allow Garcia to bring a cause of action based on a violation

of our state's constitution, where no concomitant duty arises for private citizens,

would extend the waiver of sovereign immunity beyond the stated intent of the

statute. It would also create a duty of care arising from the state constitution where

none has previously existed”).

      Third, Defendants recognize that parents have a fundamental right to parent

their children and that such right is protected through the Florida Constitution.

D.M.T. v. T.M.H., 129 So. 3d 320, 335 (Fla. 2013). But nothing about the

Defendants’ alleged actions interferes with Plaintiffs’ right to parent their child.

Instead, Count IV surmises that school personnel in Florida have an affirmative duty

under the Florida Constitution to notify parents every time their child requests that


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their school treat them as a particular gender, refer to them by a preferred name, or

address “other matters” related to their gender identity regardless of the

circumstances. (Doc. 1 at p. 49, ¶166). The Florida Constitution does not create such

a broad duty to provide such notification. See In re T.W., 551 So. 2d 1186 (Fla.

1989)(finding Florida law that required minors to obtain parental consent before

getting an abortion to be a violation of minors’ rights of privacy under the Florida

Constitution). Therefore, Count IV should be dismissed.

      Finally, as it pertains to Count V, Florida courts recognize that the due process

clause in the Florida Constitution provides no greater protection than the U.S.

Constitution. See Barrett v. State, 862 So. 2d 44, 47 (Fla. 2d DCA 2003)(case

involving alleged procedural due process violation); Fla. Canners Ass'n v. Fla. Dep't

of Citrus, 371 So. 2d 503, 513 (Fla. 2d DCA 1979) (“We consider the federal and

Florida constitutional guarantees as imposing the same standard”). Thus, substantive

due process claims arising under the Florida Constitution and U.S. Constitution are

analyzed under the same framework. As such, Count V fails for the same reasons as

Counts I through III.

                                    Conclusion

      For the foregoing reasons, the Complaint should be dismissed with prejudice.




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                           Request for Oral Argument

      Defendants request oral argument on this motion. Defendants estimate that

one hour is needed for argument.

      Respectfully submitted this 29th day of November 2021.

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                      WORD COUNT CERTIFICATION

      This document complies with word limits set forth in N.D. Fla. Local Rule
7.1(F), and contains 7,902 words, which includes headings, footnotes, and
quotations, but does not include the case style, signature block or Certificates of
Word Count and Service.

                                             /s/ Jeffrey D. Slanker
                                             JEFFREY D. SLANKER




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                         CERTIFICATE OF SERVICE

       The undersigned certifies that on this 29th day of November 2021, a true and
correct copy of the foregoing was electronically filed in the U.S. District Court,
Northern District of Florida, using the CM/ECF system which will send a notice of
electronic filing to all counsel of record.

                                             /s/ Jeffrey D. Slanker
                                             JEFFREY D. SLANKER




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